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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 14-479V
                                          (Not to be published)

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                            *
ROBERT TALTON,              *
                            *                                             Filed: June 17, 2015
                Petitioner, *
                            *                                             Decision by Stipulation; Attorney’s
          v.                *                                             Fees & Costs
                            *
SECRETARY OF HEALTH AND     *
HUMAN SERVICES,             *
                            *
                Respondent. *
                            *
*****************************

Amber D. Wilson, Maglio, Christopher and Toale, PA, Washington, DC, for Petitioner

Alexis Babcock, U.S. Dep’t of Justice, Washington, DC, for Respondent

                            ATTORNEY’S FEES AND COSTS DECISION1

         On June 4, 2014, Robert Talton filed a petition seeking compensation under the National
Vaccine Injury Compensation Program (Athe Vaccine Program@). On March 17, 2015, the parties
filed a stipulation detailing an amount to be awarded to Petitioner. I subsequently issued a decision
finding the parties’ stipulation to be reasonable and granting Petitioner the award outlined by the
stipulation.

       On June 17, 2015, counsel for both parties filed another joint stipulation, this time in
regards to attorney’s fees and costs. The parties have stipulated that Petitioner’s counsel should
receive a lump sum of $18,963.99, in the form of a check payable to Petitioner and Petitioner’s

1
   Because this decision contains a reasoned explanation for my action in this case, I will post this decision on the
United States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2002)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the posted decision’s inclusion of certain kinds of confidential
information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged
or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be available to the public.
(Id.)
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counsel. This amount represents a sum to which Respondent does not object. In addition, and in
compliance with General Order No. 9, Petitioner has represented that he did incur any reimbursable
costs in proceeding on this petition.

        I approve the requested amount for attorney’s fees and costs as reasonable. Accordingly,
an award should be made in the form of a check in the amount of $18,963.99 payable jointly to
Petitioner and Petitioner’s counsel, Amber D. Wilson, Esq. In the absence of a motion for review
filed pursuant to RCFC Appendix B, the clerk of the court SHALL ENTER JUDGMENT in
accordance with the terms of the parties’ stipulation.2


         IT IS SO ORDERED.
                                                                     /s/ Brian H. Corcoran
                                                                        Brian H. Corcoran
                                                                        Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice renouncing their
right to seek review.
